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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—
                                    GENERAL

  Case No.     2:22-cv-07440-SSS-PDx                                Date March 6, 2023
  Title   Dragana Barone, et al. v. Los Angeles County Sheriffs Department, et al.



  Present: The Honorable        SUNSHINE S. SYKES, UNITED STATES DISTRICT JUDGE


                Irene Vazquez                                        Not Reported
                Deputy Clerk                                        Court Reporter


     Attorney(s) Present for Plaintiff(s):               Attorney(s) Present for Defendant(s):
                None Present                                         None Present

  Proceedings: (IN CHAMBERS) Order to Show Cause re Dismissal for
               Lack of Prosecution
       Absent a showing of good cause, an action must be dismissed without
 prejudice if the summons and complaint are not served on a Defendant within 90
 days after the complaint is filed. Fed. R. Civ. Proc. 4(m).

         In the present case, it appears that Plaintiff has not served the summons and
 complaint on one or more Defendants. Accordingly, the Court, on its own motion,
 hereby orders Plaintiff to show cause in writing on or before March 27, 2023, why
 this action should not be dismissed, with respect to each Defendant who has not
 been served, for lack of prosecution. Pursuant to Rule 78 of the Federal Rules of
 Civil Procedure, the Court finds that this matter is appropriate for submission
 without oral argument. This Order to Show Cause will be discharged if Plaintiff
 files, before the deadline set forth above, a proof of service of the summons and
 complaint.

          IT IS SO ORDERED.




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